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 8                           IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     CASE NO. 1:10-CR-00398-AWI-BAM
12                                Plaintiff,       PRELIMINARY ORDER OF
                                                   FORFEITURE
13                         v.
14   JON JON VANCE LANKFORD,
       aka Jon Vance McDade
15      aka Jon Jon Vance McDade
16                                Defendant.
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18
           Based upon the plea agreement (Doc. 113) and the Stipulation and Application for
19
     Preliminary Order of Forfeiture (filed herewith) entered into between plaintiff United
20
     States of America and defendant Jon Jon Vance Lankford aka Jon Vance McDade aka Jon
21
     Jon Vance McDade, it is hereby ORDERED as follows:
22         1. Under 18 U.S.C. §§ 981(a)(1)(C), 981(a)(1)(D), 982(a)(2); 28 U.S.C. § 2461(c), and
23 Fed. R. Crim. P. 32.2(b)(1), defendant Jon Jon Vance Lankford’s aka Jon Vance McDade’s

24 aka Jon Jon Vance McDade’s interest in the following property shall be forfeited to the

25 United States of America, to be disposed of according to law:

26                 a. Real property located at 527 Melrose Street, Modesto, California
27                    Stanislaus County, APN: 111-002-041, including any right, title, and
                      Interest in the whole of any lot or tract of land any appurtenances or
28                    improvements thereon; and

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 1                b. Real property located at 762 Bayview Avenue, Pacific Grove, California,
                     Monterey County APN: 006-141-015, including any right, title, and
 2                   interest in the whole of any lot or tract of land any appurtenances or
                     improvements thereon.
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 4         2.     The above-listed items represent property, real or personal, which
 5 constitutes, or is derived from, or is traceable to the proceeds obtained directly or

 6 indirectly from the commission of the criminal conduct, scheme, or conspiracy, or any

 7 property traceable to such property; or that is used or is intended to be used to facilitate or

 8 used commit the criminal conduct, or scheme, or conspiracy; or is involved in or intended
 9 to be involved in the criminal conduct, or scheme, or conspiracy; or any property traceable
10 to such property; or is sub res in lieu of such property which cannot otherwise be located

11 upon the exercise of due diligence, has been transferred or sold, or deposited with a third

12 party, has been placed beyond the jurisdiction of the court, has been substantially

13 diminished in value, or has been commingled with other property which cannot be divided

14 without difficulty.

15         3.     Under Rule 32.2(b), the Attorney General (or a designee) shall be authorized
16 to seize the above-listed property. The property shall be seized and held by the Federal

17 Bureau of Investigation.

18         4.     a.     Under 18 U.S.C. § 982(b)(1) incorporating 21 U.S.C. § 853(n), and
19 Local Rule 171, the United States shall publish notice of the order of forfeiture. Notice of

20 this Order and notice of the Attorney General’s (or a designee’s) intent to dispose of the

21 property in such manner as the Attorney General may direct shall be posted for at least 30

22 consecutive days on the official internet government forfeiture site www.forfeiture.gov.

23 The United States may also, to the extent practicable, provide direct written notice to any

24 person known to have alleged an interest in the property that is the subject of the order of

25 forfeiture as a substitute for published notice as to those persons so notified.

26                b.     This notice shall state that any person, other than the defendant,
27 asserting a legal interest in the above-listed property, must file a petition with the Court

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     within sixty (60) days from the first day of publication of the Notice of Forfeiture posted on
     Preliminary Order of Forfeiture                2
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 1 the official government forfeiture site, or within thirty (30) days from receipt of direct

 2 written notice, whichever is earlier.

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                             5. If a petition is timely filed, upon adjudication of all third-party interests, if any,
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     this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C),
 5
     981(a)(1)(D), 982(a)(2); 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b)(1), in which all
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     interests will be addressed.
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     IT IS SO ORDERED.
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     Dated: October 10, 2013
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     DEAC_Sign ature-END:
                                                              SENIOR DISTRICT JUDGE
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